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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MAHMOUD KHALIL,

                                  Petitioner,                    No. 25 Civ. 1935 (JMF)

                         - against -
                                                                 NOTICE OF MOTION
WILLIAM P. JOYCE, et al.,

                                  Respondents.



         PLEASE TAKE NOTICE that, upon the accompanying memorandum of law in support

of the Respondents’ motion to dismiss or transfer, and the supporting declaration of Acting Field

Office Director William P. Joyce, Respondents, through their attorneys, will move this Court

before the Honorable Jesse M. Furman, United States District Judge, at the Thurgood Marshall

United States Courthouse, 40 Foley Square, New York, New York, for an order dismissing this

case without prejudice for lack of venue/jurisdiction, or alternatively to transfer it.


Dated:    New York, New York
          March 12, 2025

YAAKOV M. ROTH                                  MATTHEW PODOLSKY
Acting Assistant Attorney General               Acting United States Attorney
Civil Division                                  Southern District of New York
                                                Attorney for the Respondents

                                       By:       /s/ Brandon M. Waterman
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